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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF NEW YORK
                                        UNITED STATES COURTHOUSE

                                            500 PEARL STREET

                                       NEW YORK, NY 10007- 1581
                                             (212) 805 - 0246

    SHIRA A. SCHEINDLIN
UNITED STATES DISTRICT JUDGE




                                                                     July 2, 2013


      Mr. Gil A vriel
      Legal Advisor
      National Security Council
      3 Kaplan Street
      Government Campus
      Jerusalem 91919
      Israel


      Dear Mr. Avriel:

                     I am a United States District Judge in the Southern District of New York.
      This letter concerns an ongoing lawsuit in my court, Wultz v. Bank a/China, Ltd. The
      case arose out ofa 2006 suicide bombing in Tel Aviv that resulted in the death of Daniel
      Wultz and the injury of his father, Yekutiel Wultz.

                     I write to arrange a telephone meeting with you. The attorneys in this case
      seek to depose Mr. Uzi Shaya, a former member of the Counterterrorism Staff ofIsrael's
      National Security Council. The bank's attorneys are concerned that Mr. Shaya might be
      prohibited by the Israeli government from participating in the deposition. In order to save
      the attorneys from an unnecessary trip to Israel, I would like to ask you a few questions
      about Mr. Shaya's ability to participate in a deposition.

                    I have included, as background, correspondence between the attorneys in
      this case and Mr. Gal Levertov ofIsrael's Ministry of Justice, Mr. Udi Levy of the
      National Security Council, and your office.

                    Please contact my deputy clerk, Marni Blank, to arrange a meeting at your
      earliest convenience. Her email address is Marni_Blank@nysd.uscourts.gov, and her
      phone number in the United States is (212) 805-0246.

                    Thank you for your assistance in this request.
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Enclosures

cc:   Mitchell R. Berger, Counsel for Bank of China, Ltd. (by email)
      Lee Wolosky, Counsel for Plaintiffs (by email)




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